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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA


  SONY MUSIC ENTERTAINMENT, et al.,


                Plaintiffs,
                                                     Case No. 1:18-cv-00950-LO-JFA
         v.

  COX COMMUNICATIONS, INC. and
  COXCOM, LLC.


                Defendants.



  COX’S MOTION IN LIMINE NO. 4 TO PRECLUDE EVIDENCE AND TESTIMONY
           OF INFRINGEMENT AND HARM OTHER THAN THAT
            ALLEGEDLY REPRESENTED BY THE RIAA NOTICES


        Defendants Cox Communications, Inc. and CoxCom, LLC (“Cox”) respectfully move this

 Court to preclude evidence and testimony of infringement and harm other than that allegedly

 represented by the RIAA notices. Cox states the specific grounds for this motion in its

 accompanying Memorandum of Law in Support of Its Motion In Limine No. 4 to

 Preclude Evidence and Testimony of Infringement and Harm Other Than That Allegedly

 Represented by the RIAA Notices.

 Dated: October 19, 2019                          Respectfully submitted,

                                                  /s/ Thomas M. Buchanan
                                                  Thomas M. Buchanan (VSB No. 21530)
                                                  WINSTON & STRAWN LLP
                                                  1700 K Street, NW
                                                  Washington, DC 20006-3817
                                                  Tel: (202) 282-5787
                                                  Fax: (202) 282-5100
                                                  Email: tbuchana@winston.com


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                                             Attorney for Cox Communications, Inc.
                                             and CoxCom, LLC

 Of Counsel for Defendants

 Michael S. Elkin (pro hac vice)
 Thomas Patrick Lane (pro hac vice)
 WINSTON & STRAWN LLP
 200 Park Avenue
 New York, NY 10166-4193
 Telephone: (212) 294-6700
 Facsimile: (212) 294-4700
 Email: melkin@winston.com
 Email: tlane@winston.com

 Jennifer A. Golinveaux (pro hac vice)
 Thomas J. Kearney (pro hac vice)
 WINSTON & STRAWN LLP
 101 California Street, 35th Floor
 San Francisco, CA 94111-5840
 Telephone: (415) 591-1000
 Facsimile: (415) 591-1400
 Email: jgolinveaux@winston.com
 Email: tkearney@winston.com

 Michael L. Brody (pro hac vice)
 WINSTON & STRAWN LLP
 35 W. Wacker Dr.
 Chicago, IL 60601
 Telephone: (312) 558-5600
 Facsimile: (312) 558-5700
 Email: mbrody@winston.com

 Diana Hughes Leiden (pro hac vice)
 WINSTON & STRAWN LLP
 333 S. Grand Avenue, Suite 3800
 Los Angeles, CA 90071
 Telephone: (213) 615-1700
 Facsimile: (213) 615-1750
 Email: dhleiden@winston.com




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on October 19, 2019, a copy of the foregoing was served by email to
 Jeffrey Gould at jeff@oandzlaw.com, by party agreement, due to technical issues with the ECF
 system.



                                                     s/ Sean R. Anderson
                                                     Sean R. Anderson
                                                     Winston & Strawn LLP
                                                     200 Park Avenue
                                                     New York, NY 10166
                                                     Tel: (212) 294-6700
                                                     Fax: (212) 294-4700
                                                     Email: sranderson@winston.com
